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Attorneys’ Fees
Time : Fees Invoice
Date Attorney Billed Narrative Incurred Date

12/21/2021 | Hart, Nancy E. 2.6 $3,237.00 1/6/2022
12/22/2021 | Hart, Nancy E. 4.4 $5,478.00 1/6/2022
12/23/2021 | Hart, Nancy E. 1.6 $1,992.00 1/6/2022
12/28/2021 | Hart, Nancy E. 1.2 $1,494.00 1/6/2022
12/29/2021 | Hart, Nancy E. 1.8 $2,241.00 1/6/2022
12/30/2021 | Hart, Nancy E. 1.9 $2,365.50 1/6/2022
12/31/2021 | Hart, Nancy E. 2.4 $2,988.00 1/6/2022
1/1/2022 Hart, Nancy E. 29 $3,915.00 2/3/2022
1/2/2022 Hart, Nancy E. 1.7 $2,295.00 2/3/2022
1/3/2022 Hart, Nancy E. 0.9 $1,215.00 2/3/2022

Attorneys’ Fees

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Time : Fees Invoice
Date Attorney Billed Narrative Incurred Date
1/3/2022 Siqueira, Alisha M. 4.6 $4,692.00 2/3/2022
1/4/2022 Hart, Nancy E. 3:2 $4,320.00 2/3/2022
1/4/2022 Siqueira, Alisha M. 3.4 $3,468.00 2/3/2022
1/5/2022 Hart, Nancy E. 3.1 $4,185.00 2/3/2022
1/5/2022 Siqueira, Alisha M. 1.4 $1,428.00 2/3/2022
1/6/2022 Hart, Nancy E. 2.2 $2,970.00 2/3/2022
1/6/2022 Siqueira, Alisha M. 2.0 $2,040.00 2/3/2022
1/7/2022 Hart, Nancy E. 3.6 $4,860.00 2/3/2022
1/7/2022 | Siqueira, Alisha M. 1.8 $1,836.00 | 2/3/2022

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Attorneys’ Fees

Narrative

Time

Date Attorney Billed
1/10/2022 | Hart, Nancy E. 1.9
1/11/2022 | Siqueira, Alisha M. 1.4
1/12/2022 | Hart, Nancy E. 1.3
1/12/2022 | Siqueira, Alisha M. aS
1/13/2022 | Hart, Nancy E. 1.6
1/13/2022 | Siqueira, Alisha M. L2
1/14/2022 | Hart, Nancy E. LS
1/14/2022 | Siqueira, Alisha M. LS
1/15/2022 | Hart, Nancy E. 0.7

Fees Invoice
Incurred Date

$2,565.00 2/3/2022
$1,428.00 2/3/2022
$1,755.00 2/3/2022
$3,366.00 2/3/2022
$2,160.00 2/3/2022
$1,224.00 2/3/2022
$2,565.00 2/3/2022
$1,530.00 2/3/2022

$945.00 2/3/2022

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Attorneys’ Fees
Time : Fees Invoice
Date Attorney Billed Narrative Incurred Date

1/17/2022 | Hart, Nancy E. 1.4 $1,890.00 2/3/2022
1/17/2022 | Siqueira, Alisha M. 0.5 $510.00 2/3/2022
1/18/2022 | Hart, Nancy E. 0.9 $1,215.00 2/3/2022
1/18/2022 | Siqueira, Alisha M. 0.7 $714.00 | 2/3/2022
1/19/2022 | Hart, Nancy E. 2:1 $2,835.00 2/3/2022
1/20/2022 | Hart, Nancy E. 23 $3,105.00 2/3/2022
1/20/2022 | Siqueira, Alisha M. 0.8 $816.00 2/3/2022
1/21/2022 | Hart, Nancy E. 1.4 $1,890.00 2/3/2022
1/21/2022 | Siqueira, Alisha M. a2 $5,304.00 2/3/2022
1/22/2022 | Hart, Nancy E. 2.1 $2,835.00 2/3/2022

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Attorneys’ Fees
Time 3 Fees Invoice
Date Attorney Billed Narrative Incurred Date
1/23/2022 | Hart, Nancy E. 2.4 $3,240.00 2/3/2022
1/23/2022 | Siqueira, Alisha M. 1.6 $1,632.00 2/3/2022
1/24/2022 | Hart, Nancy E. 3.4 $4,590.00 2/3/2022
1/26/2022 | Hart, Nancy E. 2.8 $3,780.00 2/3/2022
1/27/2022 | Hart, Nancy E. 2.1 $2,835.00 2/3/2022
1/28/2022 | Hart, Nancy E. 0.8 $1,080.00 3/3/2022
1/31/2022 | Hart, Nancy E. Dah $3,105.00 2/3/2022
1/31/2022 | Siqueira, Alisha M. 1.1 $1,122.00 2/3/2022
2/1/2022 Hart, Nancy E. 3.6 $4,860.00 3/3/2022

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Attorneys’ Fees

Date Attorney bag Narrative Inne a invoice

2/1/2022 | Siqueira, AlishaM. | _0.1 | $102.00 | 3/3/2022
2/2/2022 | Hart, Nancy E. 0.5 $675.00 | 3/3/2022
2/2/2022 | Siqueira, Alisha M. 13 $1,326.00 | 3/3/2022
2/3/2022 | Hart, Nancy E. 1.9 $2,565.00 | 3/3/2022
2/3/2022 | Siqueira, Alisha M. 3.0 $3,060.00 | 3/3/2022
2/4/2022 | Hart, Nancy E. 3.6 $4,860.00 | 3/3/2022

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Attorneys’ Fees
Time : Fees Invoice
Date Attorney Billed Narrative Incurred Date

2/4/2022 Siqueira, Alisha M. LS $1,326.00 3/3/2022
2/6/2022 Siqueira, Alisha M. 4.3 $4,386.00 3/3/2022
2/7/2022 Hart, Nancy E. 2.8 $3,780.00 3/3/2022
2/7/2022 Siqueira, Alisha M. 3.0 $3,060.00 3/3/2022
2/8/2022 Hart, Nancy E. 1.1 $1,485.00 3/3/2022
2/10/2022 | Hart, Nancy E. 0.9 $1,215.00 3/3/2022
2/10/2022 | Siqueira, Alisha M. 2.0 $2,040.00 3/3/2022
2/11/2022 | Hart, Nancy E. L3 $1,755.00 3/3/2022
2/11/2022 | Meagher, Megan E. 0.9 $918.00 3/3/2022
2/11/2022 | Siqueira, Alisha M. DF $2,754.00 3/3/2022

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Attorneys’ Fees
Time : Fees Invoice
Date Attorney Billed Narrative Incurred Date

2/12/2022 | Hart, Nancy E. 1.6 $2,160.00 3/3/2022
2/12/2022 | Siqueira, Alisha M. 1.1 $1,122.00 3/3/2022
2/13/2022 | Meagher, Megan E. 52 $3,264.00 | 3/3/2022
2/14/2022 | Hart, Nancy E. 1.1 $1,485.00 3/3/2022
2/14/2022 | Meagher, Megan E. a. $5,610.00 3/3/2022
2/14/2022 | Siqueira, Alisha M. 1.7 $1,734.00 3/3/2022
2/15/2022 | Hart, Nancy E. 1.4 $1,890.00 3/3/2022
2/15/2022 | Meagher, Megan E. 35 $3,570.00 3/3/2022
2/15/2022 | Siqueira, Alisha M. 23 $2,346.00 3/3/2022

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Narrative

Time

Date Attorney Billed
2/16/2022 | Hart, Nancy E. 1.8
2/16/2022 | Meagher, Megan E. 2.1
2/16/2022 | Siqueira, Alisha M. 1.4
2/17/2022 | Hart, Nancy E. 1.6
2/17/2022 | Meagher, Megan E. 5:7
2/17/2022 | Siqueira, Alisha M. 0.9
2/18/2022 | Hart, Nancy E. 2.5
2/18/2022 | Meagher, Megan E. 22
2/18/2022 | Siqueira, Alisha M. 2.1

Fees Invoice
Incurred Date

$2,430.00 3/3/2022
$2,142.00 3/3/2022
$1,428.00 3/3/2022
$2,160.00 3/3/2022
$5,814.00 3/3/2022

$918.00 3/3/2022
$3,375.00 3/3/2022
$2,244.00 3/3/2022
$2,142.00 3/3/2022

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Time

Date Attorney Billed
2/19/2022 | Hart, Nancy E. 0.8
2/19/2022 | Meagher, Megan E. 8.0
2/20/2022 | Hart, Nancy E. 0.9
2/20/2022 | Meagher, Megan E. 4.3
2/20/2022 | Siqueira, Alisha M. LS
2/21/2022 | Meagher, Megan E. 5.2
2/21/2022 | Siqueira, Alisha M. 2.8
2/22/2022 | Hart, Nancy E. 1.8
2/22/2022 | Meagher, Megan E. 12
2/22/2022 | Siqueira, Alisha M. 2.4

Fees Invoice
Incurred Date
$1,080.00 3/3/2022
$8,160.00 3/3/2022
$1,215.00 3/3/2022
$4,386.00 3/3/2022
$1,326.00 3/3/2022
$5,304.00 3/3/2022
$2,856.00 3/3/2022
$2,430.00 3/3/2022
$7,344.00 3/3/2022
$2,448.00 3/3/2022

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Time

Date Attorney Billed
2/22/2022 | Wade, Peter M. 5.5
2/23/2022 | Hart, Nancy E. 0.4
2/23/2022 | Meagher, Megan E. 58
2/23/2022 | Siqueira, Alisha M. 4.1
2/23/2022 | Wade, Peter M. 1.2
2/24/2022 | Hart, Nancy E. L2
2/24/2022 | Meagher, Megan E. 0.1
2/24/2022 | Siqueira, Alisha M. LY
2/24/2022 | Wade, Peter M. ti
2/25/2022 | Hart, Nancy E. 0.8

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Narrative

Fees Invoice
Incurred Date

$6,132.50 3/3/2022

$540.00 3/3/2022
$5,814.00 3/3/2022
$4,182.00 3/3/2022
$1,338.00 3/3/2022
$1,620.00 3/3/2022

$102.00 3/3/2022
$1,938.00 3/3/2022
$7,916.50 3/3/2022
$1,080.00 3/3/2022

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Time

Date Attorney Billed
2/25/2022 | Siqueira, Alisha M. 1.8
2/25/2022 | Wade, Peter M. 3.8
2/28/2022 | Wade, Peter M. 6.3
3/1/2022 | Siqueira, Alisha M. 0.7
3/1/2022 | Wade, Peter M. a7
3/2/2022 | Hart, Nancy E. 0.9
3/2/2022 | Wade, Peter M. 4.9
3/3/2022 Hart, Nancy E. 0.8
3/3/2022 | Siqueira, Alisha M. 5.3

Fees Invoice
Incurred Date

$1,836.00 3/3/2022
$4,237.00 3/3/2022
$7,024.50 3/3/2022

$714.00 4/5/2022
$4,125.50 4/5/2022
$1,215.00 A/5/2022
$5,463.50 4/5/2022
$1,080.00 4/5/2022
$5,406.00 4/5/2022

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Attorneys’ Fees

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Time

Date Attorney Billed
3/3/2022 Wade, Peter M. 79
3/4/2022 | Hart, Nancy E. 0.9
3/4/2022 Siqueira, Alisha M. 3.4
3/4/2022 Wade, Peter M. L2
3/5/2022 Hart, Nancy E. 0.8
3/5/2022 | Siqueira, Alisha M. 0.4
3/5/2022 Wade, Peter M. 0.9
3/6/2022 Siqueira, Alisha M. 11
3/7/2022 | Hart, Nancy E. Li
3/7/2022 | Meagher, Megan E. 4.0
3/7/2022 | Siqueira, Alisha M. 8.8

Narrative

Fees Invoice
Incurred Date

$8,808.50 4/5/2022
$1,215.00 4/5/2022
$3,468.00 4/5/2022
$1,338.00 4/5/2022
$1,080.00 4/5/2022

$408.00 4/5/2022
$1,003.50 4/5/2022
$1,122.00 4/5/2022
$2,295.00 4/5/2022
$4,080.00 4/5/2022
$8,976.00 4/5/2022

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Time

Date Attorney Billed
3/7/2022 Wade, Peter M. 9:5
3/8/2022 | Meagher, Megan E. 22
3/8/2022 | Siqueira, Alisha M. 1.4
3/8/2022 | Wade, Peter M. 48
3/9/2022 Hart, Nancy E. 1.2
3/9/2022 | Siqueira, Alisha M. 8.7
3/9/2022 | Wade, Peter M. 2.9
3/10/2022 | Hart, Nancy E. 0.9
3/10/2022 | Siqueira, Alisha M. a3
3/10/2022 | Wade, Peter M. 7.4

14

Fees Invoice
Incurred Date
$10,592.50 4/5/2022

$2,244.00 4/5/2022
$1,428.00 4/5/2022
$5,352.00 4/5/2022
$1,620.00 4/5/2022
$8,874.00 4/5/2022
$3,233.50 4/5/2022
$1,215.00 4/5/2022
$3,366.00 4/5/2022
$8,251.00 4/5/2022

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Time

Date Attorney Billed
3/11/2022 | Hart, Nancy E. 12
3/11/2022 | Siqueira, Alisha M. 12
3/11/2022 | Wade, Peter M. 3.1
3/14/2022 | Hart, Nancy E. 1.6
3/14/2022 | Siqueira, Alisha M. 1.0
3/14/2022 | Wade, Peter M. 49
3/15/2022 | Hart, Nancy E. L7
3/15/2022 | Meagher, Megan E. 1.2
3/15/2022 | Siqueira, Alisha M. 1.4

Fees Invoice
Incurred Date

$1,620.00 4/5/2022
$1,224.00 4/5/2022
$3,456.50 A/5/2022
$2,160.00 4/5/2022
$1,020.00 4/5/2022
$5,463.50 4/5/2022
$2,295.00 4/5/2022
$1,224.00 4/5/2022
$1,428.00 4/5/2022

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Attorneys’ Fees

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Narrative

Time

Date Attorney Billed
3/15/2022 | Wade, Peter M. Li3
3/16/2022 | Hart, Nancy E. L3
3/16/2022 | Meagher, Megan E. 0.9
3/16/2022 | Siqueira, Alisha M. 0.9
3/16/2022 | Wade, Peter M. 4.0
3/17/2022 | Hart, Nancy E. 0.9
3/17/2022 | Siqueira, Alisha M. 0.4
3/17/2022 | Wade, Peter M. Ty
3/18/2022 | Hart, Nancy E. 0.4

Fees Invoice
Incurred Date
$12,822.50 4/5/2022

$2,565.00 A/5/2022
$918.00 4/5/2022
$918.00 4/5/2022

$4,460.00 4/5/2022

$1,215.00 4/5/2022
$408.00 4/5/2022

$8,585.50 4/5/2022
$540.00 4/5/2022

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Attorneys’ Fees

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Narrative

Time

Date Attorney Billed
3/18/2022 | Meagher, Megan E. 335
3/18/2022 | Siqueira, Alisha M. vi
3/18/2022 | Wade, Peter M. 4.5
3/19/2022 | Hart, Nancy E. 0.4
3/19/2022 | Wade, Peter M. 1.4
3/20/2022 | Wade, Peter M. 2:3
3/21/2022 | Hart, Nancy E. 0.9
3/21/2022 | Siqueira, Alisha M. 2.0
3/21/2022 | Wade, Peter M. 9.4
3/22/2022 | Hart, Nancy E. 0.5
3/22/2022 | Meagher, Megan E. 2.8
3/22/2022 | Wade, Peter M. Li

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Fees Invoice
Incurred Date
$3,570.00 4/5/2022
$2,142.00 4/5/2022
$5,017.50 4/5/2022
$540.00 4/5/2022
$1,561.00 4/5/2022
$2,564.50 4/5/2022
$1,215.00 4/5/2022
$2,040.00 4/5/2022
$10,481.00 4/5/2022
$675.00 4/5/2022
$2,856.00 4/5/2022
$1,895.50 4/5/2022

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Attorneys’ Fees

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Time
Date Attorney Billed
3/24/2022 | Hart, Nancy E.
3/24/2022 | Wade, Peter M.
3/25/2022 | Hart, Nancy E.
3/25/2022 | Meagher, Megan E.
3/25/2022 | Wade, Peter M.
3/26/2022 | Hart, Nancy E.
3/26/2022 | Wade, Peter M.
| 3/27/2022 | Meagher, Megan E. |
3/28/2022 | Hart, Nancy E.
3/28/2022 | Meagher, Megan E.

Narrative

Fees Invoice
Incurred Date

$1,215.00 4/5/2022
$4,906.00 4/5/2022
$1,485.00 4/5/2022
$1,122.00 4/5/2022
$2,007.00 4/5/2022

$675.00 4/5/2022
$2,899.00 4/5/2022
$1,326.00 | 4/5/2022
$1,620.00 4/5/2022
$3,570.00 4/5/2022

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Time

Date Attorney Billed
3/28/2022 | Siqueira, Alisha M. LA
3/28/2022 | Wade, Peter M. 6.0
3/29/2022 | Hart, Nancy E. 0.2
3/29/2022 | Meagher, Megan E. Lo
3/29/2022 | Siqueira, Alisha M. 22
3/29/2022 | Wade, Peter M. 0.8
3/30/2022 | Siqueira, Alisha M. 0.8
3/30/2022 | Wade, Peter M. 33
3/31/2022 | Hart, Nancy E. 0.9
4/1/2022 | Meagher, Megan E. 1.5
4/4/2022 | Meagher, Megan E. LS

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Fees Invoice
Incurred Date
$1,122.00 4/5/2022
$6,690.00 4/5/2022
$270.00 4/5/2022
$1,224.00 4/5/2022
$2,244.00 4/5/2022
$892.00 4/5/2022
$816.00 4/5/2022
$3,679.50 4/5/2022
$1,215.00 4/5/2022
$1,530.00 5/4/2022
$1,530.00 5/4/2022

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Time

Date Attorney Billed
4/5/2022 | Hart, Nancy E. 0.8
4/5/2022 | Meagher, Megan E. 0.2
4/5/2022 Wade, Peter M. 0.3
4/6/2022 | Meagher, Megan E. 4.1
4/7/2022 | Meagher, Megan E. 6.8
A/8/2022 Hart, Nancy E. 0.6
4/8/2022 | Meagher, Megan E. 0.4
4/8/2022 | Wade, Peter M. 1.2
4/12/2022 | Wade, Peter M. 1.3
4/13/2022 | Hart, Nancy E. 0.9
5/26/2022 | Hart, Nancy E. 0.4
5/26/2022 | Wade, Peter M. 0.7
5/27/2022 | Hart, Nancy E. 0.2

Fees Invoice
Incurred Date
$1,080.00 5/4/2022
$204.00 5/4/2022
$334.50 5/4/2022
$4,182.00 5/4/2022
$6,936.00 5/4/2022
$810.00 5/4/2022
$408.00 5/4/2022
$1,338.00 5/4/2022
$1,449.50 5/4/2022
$1,215.00 5/4/2022
$540.00 6/3/2022
$780.50 6/3/2022
$270.00 6/3/2022

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Date Attorney bag
6/1/2022 Hart, Nancy E. 1.2
6/1/2022 | Wade, Peter M. 0.5
6/2/2022 __| Hart, Nancy E. 0.5
6/10/2022 | Hart, Nancy E. 0.6
6/10/2022 | Wade, Peter M. 0.6
6/15/2022 | Hart, Nancy E. 0.9
6/15/2022 | Wade, Peter M. 1.1
6/22/2022 | Hart, Nancy E. 0.3
6/28/2022 | Hart, Nancy E. 0.3
6/30/2022 | Hart, Nancy E. 0.4
6/30/2022 | Wade, Peter M. 0.4

7/1/2022 | Hart, Nancy E. 0.3

7/5/2022 | Hart, Nancy E. L3

Narrative

Fees Invoice
Incurred Date
$1,620.00 7/6/2022
$557.50 7/6/2022
$675.00 7/6/2022
$810.00 7/6/2022
$669.00 7/6/2022
$1,215.00 7/6/2022
$1,226.50 7/6/2022
$405.00 7/6/2022
$405.00 7/6/2022
$540.00 7/6/2022
$446.00 7/6/2022
$405.00 8/4/2022
$1,755.00 8/4/2022

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Date Attorney Billed
7/11/2022 | Hart, Nancy E. 1.5
7/12/2022 | Hart, Nancy E. 0.2
7/26/2022 | Hart, Nancy E. 0.9
7/26/2022 | Meagher, Megan E. 0.2
7/29/2022 | Meagher, Megan E. 1.3
8/1/2022 | Hart, Nancy E. 0.5
8/1/2022 | Meagher, Megan E. 5.4
8/2/2022 Hart, Nancy E. 0.6
8/2/2022 | Meagher, Megan E. 6.5
8/2/2022 | Wade, Peter M. Is]

Fees Invoice
Incurred Date
$2,025.00 $/4/2022
$270.00 8/4/2022
$1,215.00 $/4/2022
$204.00 8/4/2022
$1,326.00 $/4/2022
$675.00 9/2/2022
$5,508.00 9/2/2022
$810.00 9/2/2022
$6,630.00 9/2/2022
$1,226.50 9/2/2022

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Date Attorney Billed
8/3/2022 | Meagher, Megan E. 3.4
8/4/2022 | Hart, Nancy E. 15
8/5/2022 | Meagher, Megan E. 0.3
8/5/2022 | Wade, Peter M. 1.3
8/7/2022 | Meagher, Megan E. 35
8/8/2022 | Meagher, Megan E. 42
8/8/2022 | Wade, Peter M. 1.8
8/9/2022 | Meagher, Megan E. 2.8
8/10/2022 | Hart, Nancy E. 0.9

Fees Invoice
Incurred Date

$3,468.00 9/2/2022
$2,025.00 9/2/2022

$306.00 9/2/2022
$1,449.50 9/2/2022
$3,570.00 9/2/2022
$4,284.00 9/2/2022
$2,007.00 9/2/2022
$2,856.00 9/2/2022
$1,215.00 9/2/2022

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Attorneys’ Fees

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Time ‘ Fees Invoice
Date Attorney Billed Narrative Incurred Date
8/10/2022 | Meagher, Megan E. 2S $2,550.00 | 9/2/2022
8/10/2022 | Wade, Peter M. 0.8 $892.00 | 9/2/2022
8/11/2022 | Meagher, Megan E. 48 $4,896.00 | 9/2/2022
8/12/2022 | Hart, Nancy E. 0.2 $270.00 | 9/2/2022
8/12/2022 | Meagher, Megan E. 4.7 $4,794.00 | 9/2/2022
8/15/2022 | Meagher, Megan E. 0.1 $102.00 | 9/2/2022
8/15/2022 | Wade, Peter M. 1.9 $2,118.50 | 9/2/2022
8/17/2022 | Hart, Nancy E. 0.7 $945.00 | 9/2/2022

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Filed 09/03/24
Attorneys’ Fees

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Time : Fees Invoice
Date Attorney Billed Narrative Incurred Date
8/17/2022 | Wade, Peter M. 0.9 $1,003.50 9/2/2022
8/18/2022 | Hart, Nancy E. 0.8 $1,080.00 9/2/2022
8/18/2022 | Wade, Peter M. 0.8 $892.00 9/2/2022
8/22/2022 | Hart, Nancy E. 0.8 $1,080.00 9/2/2022
8/23/2022 | Hart, Nancy E. 2:1 $2,835.00 9/2/2022
8/23/2022 | Meagher, Megan E. 0.9 $918.00 9/2/2022
8/24/2022

Hart, Nancy E. 2:1

$2,835.00 | 9/2/2022

8/24/2022 | Meagher, Megan E. 0.2 $204.00 | 9/2/2022
8/24/2022 | Wade, Peter M. 2.0 $2,230.00 | 9/2/2022
8/25/2022

Hart, Nancy E. 0.8

$1,080.00 | 9/2/2022

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Attorneys’ Fees

Date Attorney Bas Narrative Inne d tavoree

8/25/2022 | Meagher, Megan E. 6.0 $6,120.00 9/2/2022

8/25/2022 | Wade, Peter M. 3.8 $4,237.00 | 9/2/2022

8/26/2022 | Hart, Nancy E. 0.9 $1,215.00 9/2/2022

8/26/2022 | Meagher, Megan E. Li $1,224.00 | 9/2/2022

8/26/2022 | Wade, Peter M. 0.9 $1,003.50 | 9/2/2022

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Attorneys’ Fees

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Time
Date Attorney Billed
8/29/2022 | Hart, Nancy E. 1.2
8/29/2022 | Meagher, Megan E. 1.0
8/29/2022 | Wade, Peter M. 0.9
8/30/2022 | Hart, Nancy E. 0.9
8/31/2022 | Hart, Nancy E. 1.2
8/31/2022 | Wade, Peter M. 2.0
9/1/2022 | Hart, Nancy E. 1.4
9/1/2022 | Wade, Peter M. Lil
9/2/2022 Wade, Peter M. 0.5
9/6/2022 | Wade, Peter M. 4.7
9/7/2022 Hart, Nancy E. 2.5

Fees Invoice
arranye Incurred Date
$1,620.00 9/2/2022
$1,020.00 9/2/2022
$1,003.50 9/2/2022
$1,215.00 9/2/2022
$1,620.00 9/2/2022
$2,230.00 9/2/2022
$1,890.00 10/5/2022
$1,226.50 | 10/5/2022 _
$557.50 10/5/2022
$5,240.50 10/5/2022
$3,375.00 10/5/2022

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Attorneys’ Fees

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Time

Date Attorney Billed
9/7/2022 Wade, Peter M. 5.8
9/8/2022 Hart, Nancy E. 3.8
9/8/2022 | Wade, Peter M. 2.4
9/9/2022 | Hart, Nancy E. 2.2
9/9/2022 | Wade, Peter M. 1.3
9/23/2022 | Wade, Peter M. 1.9

Narrative

Fees Invoice
Incurred Date
$6,467.00 10/5/2022
$5,130.00 10/5/2022
$2,676.00 10/5/2022
$2,970.00 10/5/2022
$1,449.50 10/5/2022
$2,118.50 10/5/2022

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Narrative

Time

Date Attorney Billed
9/24/2022 | Hart, Nancy E. 1.8
9/24/2022 | Wade, Peter M. 1.8
9/26/2022 | Meagher, Megan E. 1.2
9/26/2022 | Wade, Peter M. 5.6
10/8/2022 | Meagher, Megan E. 2.4
10/9/2022 | Meagher, Megan E. 20
10/24/2022 | Meagher, Megan E. 0.2

| 10/25/2022 | Meagher,MeganE.| 2.4[

10/27/2022 | Hart, Nancy E. 0.9
10/30/2022 | Wade, Peter M. 0.8

Fees Invoice
Incurred Date

$2,430.00 10/5/2022
$2,007.00 10/5/2022
$1,224.00 10/5/2022
$6,244.00 10/5/2022
$4,896.00 11/2/2022
$2,958.00 11/2/2022

$204.00 11/2/2022
$2,448.00 | 11/2/2022 —
$1,215.00 11/2/2022

$892.00 11/2/2022

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Attorneys’ Fees

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Time

Date Attorney Billed
11/1/2022 | Wade, Peter M. 4.9
11/2/2022 | Wade, Peter M. 32
11/3/2022 | Wade, Peter M. 1.4
11/4/2022 | Wade, Peter M. 1.0
11/8/2022 | Hart, Nancy E. 2.4
11/9/2022 | Meagher, Megan E. 2.4
11/9/2022 | Wade, Peter M. 3.8
11/10/2022 | Meagher, Megan E. 2.9)
11/10/2022 | Wade, Peter M. 13
11/11/2022 | Wade, Peter M. 1.5
11/12/2022 | Meagher, Megan E. 4.6
11/13/2022 | Wade, Peter M. 1.7
11/14/2022 | Wade, Peter M. 15
11/28/2022 | Hart, Nancy E. 0.3
5/28/2023 | Hart, Nancy E. 1.0
5/28/2023 | Wade, Peter M. 2)
5/30/2023 | Hart, Nancy E. 1.1

Fees Invoice
arranye Incurred Date
$5,463.50 12/2/2022
$3,568.00 12/2/2022
$1,561.00 12/2/2022
$1,115.00 12/2/2022
$3,240.00 12/2/2022
$2,448.00 12/2/2022
$4,237.00 12/2/2022
$2,958.00 12/2/2022
$2,118.50 12/2/2022
$1,672.50 12/2/2022
$4,692.00 12/2/2022
$1,895.50 12/2/2022
$1,672.50 12/2/2022
$405.00 12/2/2022
$1,535.00 6/5/2023
$2,761.50 6/5/2023
$1,688.50 6/5/2023

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Attorneys’ Fees

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Narrative

Time

Date Attorney Billed
5/30/2023 | Meagher, Megan E. 5.3
5/30/2023 | Wade, Peter M. 1.0
5/31/2023 | Hart, Nancy E. Dit
5/31/2023 | Wade, Peter M. 3.7
6/1/2023 Hart, Nancy E. 2.9
6/1/2023 Wade, Peter M. 0.5
6/8/2023 | Meagher, Megan E. 0.6
6/8/2023 Wade, Peter M. 0.6

Fees Invoice
Incurred Date

$6,121.50 6/5/2023
$1,315.00 6/5/2023
$4,144.50 6/5/2023
$4,865.50 6/5/2023
$4,451.50 7/7/2023
$657.50 7/7/2023
$693.00 7/7/2023
$789.00 7/7/2023

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Attorneys’ Fees

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Narrative

Time

Date Attorney Billed
6/19/2023 | Meagher, Megan E. 29
6/20/2023 | Meagher, Megan E. a7
6/21/2023 | Meagher, Megan E. 0.2
6/21/2023 | Wade, Peter M. 3.8
6/22/2023 | Hart, Nancy E. 1.5
6/22/2023 | Meagher, Megan E. 2.8
6/22/2023 | Wade, Peter M. 6.4
6/23/2023 | Hart, Nancy E. 0.3
6/23/2023 | Meagher, Megan E. 2.6
6/23/2023 | Wade, Peter M. LS
7/24/2023 | Wade, Peter M. 1.8

Fees Invoice
Incurred Date

$3,349.50 7/7/2023
$4,273.50 7/7/2023

$231.00 7/7/2023
$4,997.00 7/7/2023
$2,302.50 7/7/2023
$3,234.00 7/7/2023
$8,416.00 7/7/2023

$460.50 7/7/2023
$3,003.00 7/7/2023
$1,972.50 7/7/2023
$2,367.00 8/4/2023

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Time

Date Attorney Billed
7/25/2023 | Wade, Peter M. L5
7/26/2023 | Meagher, Megan E. 0.4
7/28/2023 | Hart, Nancy E. 0.4
7/31/2023 | Meagher, Megan E. 4.5
8/3/2023 | Meagher, Megan E. 0.6
8/7/2023 _| Meagher, Megan E. 0.4
8/8/2023 | Meagher, Megan E. La
8/8/2023 | Wade, Peter M. 0.8
8/9/2023 | Meagher, Megan E. 48
8/10/2023 | Meagher, Megan E. 3.5
8/10/2023 | Wade, Peter M. 1.7
8/11/2023 | Meagher, Megan E. 0.5
8/14/2023 | Meagher, Megan E. Lo

~ 8/15/2023 | Meagher, MeganE.| 1.0]

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Narrative

Fees Invoice
Incurred Date
$1,972.50 8/4/2023
$462.00 8/4/2023
$614.00 8/4/2023
$5,197.50 8/4/2023
$693.00 9/5/2023
$462.00 9/5/2023
$1,501.50 9/5/2023
$1,052.00 9/5/2023
$5,544.00 9/5/2023
$4,042.50 9/5/2023
2.235 50 9/5/2023
$577.50 9/5/2023
$2,194.50 9/5/2023
$1,155.00 | 9/5/2023

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Attorneys’ Fees

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Time

Date Attorney Billed
8/16/2023 | Meagher, Megan E. Bul
8/17/2023 | Meagher, Megan E. 2.7
8/19/2023 | Meagher, Megan E. 46
8/20/2023 | Meagher, Megan E. t
8/21/2023 | Meagher, Megan E. 6.5
8/22/2023 | Hart, Nancy E. 1.0
8/22/2023 | Meagher, Megan E. 32
8/22/2023 | Wade, Peter M. 6.1
8/23/2023 | Wade, Peter M. 10.8
8/24/2023 | Meagher, Megan E. 1.6
8/24/2023 | Wade, Peter M. 5.3
8/25/2023 | Meagher, Megan E. 0.8
8/25/2023 | Wade, Peter M. id
8/29/2023 | Meagher, Megan E. 0.7

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Narrative

Fees Invoice
Incurred Date
$3,580.50 9/5/2023
$3,118.50 9/5/2023
$5,313.00 9/5/2023
$8,316.00 9/5/2023
$7,507.50 9/5/2023
$1,535.00 9/5/2023
$3,696.00 9/5/2023
$8,021.50 9/5/2023
$14,202.00 9/5/2023
$1,848.00 9/5/2023
$6,969.50 9/5/2023
$924.00 9/5/2023
$1,446.50 9/5/2023
$808.50 9/5/2023

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Time

Date Attorney Billed
8/30/2023 | Meagher, Megan E. 2.0
8/31/2023 | Meagher, Megan E. 6.0
9/1/2023 | Meagher, Megan E. 25
9/2/2023 | Wade, Peter M. 95
9/3/2023 | Wade, Peter M. 3.4
9/4/2023 | Meagher, Megan E. 6.4
9/4/2023 | Wade, Peter M. 4.5
9/5/2023 | Hart, Nancy E. io
9/5/2023 _| Wade, Peter M. 0.7
9/6/2023 Hart, Nancy E. 2
9/6/2023 Wade, Peter M. 1
9/9/2023 Hart, Nancy E. 0.5
9/9/2023 Wade, Peter M. LZ
9/11/2023 | Wade, Peter M. 22
9/12/2023 | Meagher, Megan E. 1.3

Narrative

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Fees Invoice
Incurred Date
$2,310.00 9/5/2023
$6,930.00 9/5/2023
$2,887.50 10/3/2023
$12,492.50 10/3/2023
$4,471.00 10/3/2023
$7,392.00 10/3/2023
$5,917.50 10/3/2023
$3,530.50 10/3/2023
$920.50 10/3/2023
$3,530.50 10/3/2023
$2,761.50 10/3/2023
$767.50 10/3/2023
$1,578.00 10/3/2023
$2,893.00 10/3/2023
$1,501.50 10/3/2023

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Attorneys’ Fees

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Narrative

Time

Date Attorney Billed
9/13/2023 | Meagher, Megan E. 2.8
9/13/2023 | Wade, Peter M. 1.3
9/14/2023 | Meagher, Megan E. 46
9/14/2023 | Wade, Peter M. 0.6
9/15/2023 | Meagher, Megan E. 2.0
9/16/2023 | Meagher, Megan E. 10.0
9/16/2023 _| Wade, Peter M. 0.4
9/17/2023 | Meagher, Megan E. 94
9/17/2023 | Wade, Peter M. 2.9
9/18/2023 _| Meagher, Megan E. 0.6
9/20/2023 | Meagher, Megan E. 0.1
9/22/2023 | Wade, Peter M. 25
9/25/2023 | Meagher, Megan E. a5

| 9/26/2023 | Meagher,MeganE.| 4.0 |

Fees Invoice
Incurred Date
$3,234.00 10/3/2023
$1,709.50 10/3/2023
$5,313.00 10/3/2023

$789.00 10/3/2023
$2,310.00 10/3/2023
$11,550.00 10/3/2023

$526.00 10/3/2023
$10,510.50 10/3/2023
$3,813.50 10/3/2023

$693.00 10/3/2023

$115.50 10/3/2023
$3,287.50 10/3/2023
$4,042.50 10/3/2023
$4,620.00 | 10/3/2023 _

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Attorneys’ Fees

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Time

Date Attorney Billed
9/27/2023 | Meagher, Megan E. 0.9
9/28/2023 | Meagher, Megan E. 0.8
9/28/2023 | Wade, Peter M. 1.9
9/29/2023__| Meagher, Megan E. 0.1
9/29/2023 | Wade, Peter M. 3.1
10/6/2023 | Wade, Peter M. 0.7
10/9/2023 | Wade, Peter M. 1.8
10/10/2023 | Hart, Nancy E. 1.3
10/10/2023 | Wade, Peter M. 1.9
10/13/2023 | Hart, Nancy E. 0.6
11/30/2023 | Wade, Peter M. 1.0
12/7/2023 | Meagher, Megan E. 1.0
12/7/2023 | Wade, Peter M. 0.2
12/8/2023 | Meagher, Megan E. 0.9
12/8/2023 | Wade, Peter M. 0.8
12/10/2023 | Meagher, Megan E. 1.0

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Narrative

Fees Invoice
Incurred Date
$1,039.50 10/3/2023
$924.00 10/3/2023
$2,498.50 10/3/2023
$115.50 10/3/2023
$4,076.50 10/3/2023
$920.50 11/2/2023
$2,367.00 11/2/2023
$1,995.50 11/2/2023
$2,498.50 11/2/2023
$921.00 11/2/2023
$1,315.00 12/4/2023
$1,155.00 1/3/2024
$263.00 1/3/2024
$1,039.50 1/3/2024
$1,052.00 1/3/2024
$1,155.00 1/3/2024

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Attorneys’ Fees

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Time

Date Attorney Billed
3/6/2024 | Meagher, Megan E. 0.3
3/7/2024 | Meagher, Megan E. 1.5
3/8/2024 | Meagher, Megan E. 1.4
3/8/2024 | Wade, Peter M. 0.7
3/11/2024 | Meagher, Megan E. 3.0
3/12/2024 | Meagher, Megan E. a7,
3/12/2024 | Wade, Peter M. 1.8
3/13/2024 | Meagher, Megan E. 2.0
3/14/2024 | Hart, Nancy E. 1.9
3/14/2024 | Meagher, Megan E. 0.6
3/14/2024 | Wade, Peter M. 0.5
3/15/2024 | Hart, Nancy E. 0.3
3/15/2024 | Wade, Peter M. 0.2

Narrative

Fees Invoice
Incurred Date
$378.00 4/2/2024
$1,890.00 4/2/2024
$1,764.00 4/2/2024
$1,004.50 4/2/2024
$3,780.00 4/2/2024
$4,662.00 4/2/2024
$2,583.00 4/2/2024
$2,520.00 4/2/2024
$3,182.50 4/2/2024
$756.00 4/2/2024
$717.50 4/2/2024
$502.50 4/2/2024
$287.00 4/2/2024

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Attorneys’ Fees

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Narrative

Time

Date Attorney Billed
3/16/2024 | Hart, Nancy E. 0.5
3/16/2024 | Meagher, Megan E. 0.2
3/18/2024 | Hart, Nancy E. 1.1
3/18/2024 | Meagher, Megan E. 5.8
3/18/2024 | Wade, Peter M. 0.9
3/19/2024 | Meagher, Megan E. 20
3/19/2024 | Wade, Peter M. Dol
3/20/2024 | Hart, Nancy E. 0.3
3/21/2024 | Hart, Nancy E. 0.6
4/9/2024 | Meagher, Megan E. 1.8

Fees Invoice
Incurred Date
$837.50 4/2/2024
$252.00 4/2/2024
$1,842.50 4/2/2024
$7,308.00 4/2/2024
$1,291.50 4/2/2024
$3,402.00 4/2/2024
$3,013.50 4/2/2024
$502.50 4/2/2024
$1,005.00 4/2/2024
$2,268.00 5/3/2024

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Narrative

Time

Date Attorney Billed
4/9/2024 | Wade, Peter M. 0.3
4/10/2024 | Hart, Nancy E. 0.5
4/10/2024 | Meagher, Megan E. 0.4
4/10/2024 | Wade, Peter M. 0.5
4/12/2024 | Hart, Nancy E. 0.5
4/12/2024 | Meagher, Megan E. 1.6
4/15/2024 | Meagher, Megan E. 0.1
4/15/2024 | Wade, Peter M. 0.4
4/16/2024 | Hart, Nancy E. 0.9
4/22/2024 | Hart, Nancy E. 0.8
4/24/2024 | Hart, Nancy E. 1.0
4/25/2024 | Hart, Nancy E. 1.8
4/25/2024 | Wade, Peter M. 0.3

Fees Invoice
Incurred Date
$430.50 5/3/2024
$837.50 5/3/2024
$504.00 5/3/2024
$717.50 5/3/2024
$837.50 5/3/2024
$2,016.00 5/3/2024
$126.00 5/3/2024
$574.00 5/3/2024
$1,507.50 5/3/2024
$1,340.00 5/3/2024
$1,675.00 5/3/2024
$3,015.00 5/3/2024
$430.50 5/3/2024

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Attorneys’ Fees

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Time
Date Attorney Billed
4/30/2024 | Hart, Nancy E. 0.3
5/1/2024 | Hart, Nancy E. 0.4
5/3/2024 | Hart, Nancy E. 0.5
5/3/2024 | Wade, Peter M. 0.6
5/29/2024 | Meagher, Megan E. 0.2
5/30/2024 | Meagher, Megan E. 0.3
5/31/2024 | Hart, Nancy E. 1.4
5/31/2024 | Meagher, Megan E. 0.2
5/31/2024 | Wade, Peter M. 0.6
6/2/2024 | Meagher, Megan E. 1.2
6/3/2024 | Meagher, Megan E. 3
6/4/2024 | Meagher, Megan E. 0.5
6/4/2024 _| Wade, Peter M. 0.4 |
6/5/2024 | Hart, Nancy E. Li

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Fees Invoice
arranye Incurred Date

$502.50 5/3/2024

$670.00 6/4/2024

$837.50 6/4/2024

$861.00 6/4/2024

$252.00 6/4/2024

$378.00 6/4/2024

$2,345.00 6/4/2024

$252.00 6/4/2024

$861.00 6/4/2024

$1,512.00 7/2/2024

$1,638.00 7/2/2024

$630.00 7/2/2024

$5 74.00 | 7/2/2024

$2,847.50 7/2/2024

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Attorneys’ Fees

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Time

Date Attorney Billed
6/6/2024 | Hart, Nancy E. 0.8
6/6/2024 | Meagher, Megan E. 0.2
6/6/2024 | Wade, Peter M. 0.9
6/10/2024 | Meagher, Megan E. 0.3
6/13/2024 | Meagher, Megan E. 2.4
6/14/2024 | Meagher, Megan E. 1.0
6/22/2024 | Hart, Nancy E. 0.8
7/1/2024 | Hart, Nancy E. 0.3
7/1/2024 | Wade, Peter M. 0.7
7/2/2024 | Meagher, Megan E. 13
7/9/2024 | Wade, Peter M. 0.5
7/10/2024 | Meagher, Megan E. 37
7/16/2024 | Hart, Nancy E. 0.9

Narrative

Fees Invoice
Incurred Date
$1,340.00 7/2/2024
$252.00 7/2/2024
$1,291.50 7/2/2024
$378.00 7/2/2024
$3,024.00 7/2/2024
$1,260.00 7/2/2024
$1,340.00 7/2/2024
$502.50 8/5/2024
$1,004.50 8/5/2024
$1,638.00 8/5/2024
$717.50 8/5/2024
$4,662.00 8/5/2024
$1,507.50 8/5/2024

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Attorneys’ Fees

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Time

Date Attorney Billed
7/17/2024 | Hart, Nancy E. 3.3
7/17/2024 | Wade, Peter M. 0.4
7/18/2024 | Hart, Nancy E. 0.9
7/18/2024 | Wade, Peter M. 0.5
08/06/24 | Wade, Peter M. 0.80
08/06/24 _| Meagher, Megan E. 1.70
08/15/24 | Hart, Nancy E. 0.90
08/17/24 | Meagher, Megan E. 0.30
08/19/24 Hart, Nancy E. 0.60
08/21/24 Hart, Nancy E. 0.50
08/21/24 | Wade, Peter M. 0.80
08/23/24 | Wade, Peter M. 0.60
08/23/24 | Meagher, Megan E. 0.20
08/24/24 | Meagher, Megan E. 1.30
08/26/24 | Hart, Nancy E. 0.30
08/26/24 _| Wade, Peter M. 0.50

* Anticipated invoice date.

7 Fees Invoice
Narrative Facarreié Date
$5,527.50 8/5/2024
$574.00 8/5/2024
$1,507.50 8/5/2024
$717.50 8/5/2024
$1,148.00 | 9/4/2024*
$2,142.00 | 9/4/2024*
$1,507.50 | 9/4/2024*
$378.00 | 9/4/2024*
$1,005.00 | 9/4/2024*
$837.50 | 9/4/2024*
$1,148.00 | 9/4/2024*
$861.00 | 9/4/2024*
$252.00 | 9/4/2024*
$1,638.00 | 9/4/2024*
$502.50 | 9/4/2024*
$717.50 | 9/4/2024*

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Attorneys’ Fees

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Time

Date Attorney Billed
08/26/24 | Meagher, Megan E. 3.10
08/27/24 | Hart, Nancy E. 0.60
08/27/24 | Meagher, Megan E. 0.40
08/28/24 Hart, Nancy E. 0.50
08/28/24 | Wade, Peter M. 1.90
08/28/24 | Meagher, Megan E. 3.30
08/29/24 | Wade, Peter M. 0.40
08/29/24 | Meagher, Megan E. 1.40
08/30/24 Hart, Nancy E. 0.80
08/30/24 | Wade, Peter M. 1.90
08/30/24 | Meagher, Megan E. 6.30
08/31/24 | Meagher, Megan E. 8.00

* Anticipated invoice date.

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Narrative

Fees Invoice
Incurred Date
$3,906.00 | 9/4/2024*
$1,005.00 | 9/4/2024*
$504.00 | 9/4/2024*
$837.50 | 9/4/2024*
$2,726.50 | 9/4/2024*
$4,158.00 | 9/4/2024*
$574.00 | 9/4/2024*
$1,764.00 | 9/4/2024*
$1,340.00 | 9/4/2024*
$ 2,726.50 | 9/4/2024*
$7,938.00 | 9/4/2024*
$10,080.00 | 9/4/2024*

Attorneys’ Fees

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Time : Fees Invoice
Date Attorney Billed Narrative Incurred Date
Total $1,174,716.50

* Anticipated invoice date.

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